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 3   (916) 443-7141
 4
     Attorney for Defendant,
 5   DERRICK JOHNSON
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                No. CR S 08-00427-04-MCE
10                                       )
                 Plaintiff,              )                STIPULATION AND PROPOSED
11                                       )                ORDER CONTINUING DATE FOR
           v.                            )                JUDGMENT AND SENTENCING
12                                       )
     DERRICK JOHNSON,                    )
13                                       )
                 Defendant.              )
14   ____________________________________)
15   The parties hereby stipulate as follows:
16   1. Judgment and sentencing is presently set for March 22, 2012.
17   2. The parties agree to vacate the March 22, 2012 hearing date, and to set the matter for
18   judgment and sentencing to be held June 21, 2012 at 9:00 a.m. Good cause for the continuance
19   is due to the defendant’s continued cooperation pursuant to the plea agreement, and to afford
20   defense counsel additional time to address the proposed presentence investigation report. The
21   probation officer has no objection to the proposed date for judgment and sentencing.
22   3. The parties hereby stipulate to the following schedule concerning the presentence investigation
23   report:
24   Informal Objections
     to Proposed PSR Due:          5/25/12
25
     Final PSR Due to Court:       6/1/12
26
     Motion for Correction of
27   PSR Due:                      6/8/12
28
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 1   Reply or Statement of Non-
     Opposition Due:            6/15/12
 2
     DATED: March 15, 2012                        /s/ Timothy E. Warriner, Attorney for Defendant,
 3                                                Derrick Johnson
 4   DATED: March 15, 2012                        /s/ Phil Ferrari, Assistant United States
                                                  Attorney for the Government
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 6
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10                                               ORDER
11             GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the March
12   22, 2012 hearing is vacated, and the matter is set for judgment and sentencing to occur June 21,
13   2012 at 9:00 a.m. The court adopts the stipulation of the parties concerning the presentence
14   report.
15
      Dated: March 28, 2012
16
                                                  ________________________________
17                                                MORRISON C. ENGLAND, JR.
                                                  UNITED STATES DISTRICT JUDGE
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